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 1    HEATHER E. WILLIAMS, CA Bar #122664
      Federal Defender
 2    ERIN SNIDER, CA Bar #304781
      Assistant Federal Defender
 3    Office of the Federal Defender
      2300 Tulare Street, Suite 330
 4    Fresno, CA 93721-2226
      Telephone: (559) 487-5561
 5    Fax: (559) 487-5950
 6    Attorneys for Defendant
      BLAKE WAYNE REED
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                     Case No. 1:23-cr-00101-NODJ-BAM-1
12                      Plaintiff,                  STIPULATION TO CONTINUE
                                                    SENTENCING HEARING; ORDER
13    vs.
                                                    Date: July 15, 2024
14    BLAKE WAYNE REED,                             Time: 8:30 a.m.
                                                    Judge: NODJ
15                     Defendant.
16
17           IT IS HEREBY STIPULATED by and between the parties through their respective
18    counsel, Assistant United States Attorney Brittany Gunter, counsel for plaintiff, and Assistant
19    Federal Defender Erin Snider, counsel for Blake Wayne Reed, that the Court may continue the
20    sentencing hearing currently scheduled for June 17, 2024, at 8:30 a.m. to July 15, 2024, at 8:30
21    a.m. before the District Judge.
22           Mr. Reed entered guilty pleas to Counts 5 and 13 of the Indictment on February 26, 2024.
23    ECF #30. At that time, the Court set the matter for sentencing on June 10, 2024, at 9:30 a.m. Id.
24    On May 16, 2024, the Court, on its own motion, continued the sentencing hearing to June 17,
25    2024, at 8:30 a.m.
26           Undersigned defense counsel is scheduled to be out of town on a prepaid vacation on
27    June 17, 2024. Defense counsel understands that the next available calendar is July 15, 2024.
28    Both parties are available on that date, and the government has no objection to the continuance.
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 1    IT IS SO STIPULATED.
 2                                                            Respectfully submitted,
 3
                                                              PHILLIP A. TALBERT
 4                                                            United States Attorney
 5
 6    Date: May 31, 2024                                      /s/ Brittany Gunter
                                                              BRITTANY GUNTER
 7                                                            Assistant United States Attorney
                                                              Attorney for Plaintiff
 8
 9                                                            HEATHER E. WILLIAMS
                                                              Federal Defender
10
11    Date: May 31, 2024                                      /s/ Erin Snider
                                                              ERIN SNIDER
12                                                            Assistant Federal Defender
                                                              Attorney for Defendant
13                                                            BLAKE WAYNE REED
14
15
16                                                            ORDER
17             IT IS SO ORDERED that the sentencing hearing is continued from June 17, 2024, to
18    July 15, 2024, at 8:30 a.m. in Courtroom 5 before the District Court Judge.
19
      IT IS SO ORDERED.
20
21        Dated:        May 31, 2024                                     /s/ Barbara A. McAuliffe   _
                                                                     UNITED STATES MAGISTRATE JUDGE
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       Laitman – Stipulation to Continue Sentencing Hearing      2
